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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    Miami Division

                        CASE NO.: 19-cv-24766-WILLIAMS/TORRES


   JANE DOE,

         Plaintiff,

   v.

   CARNIVAL CORPORATION,

         Defendant.
                                             /

                      DEFENDANT CARNIVAL CORPORATION’S REPLY
                         IN SUPPORT OF MOTION FOR NEW TRIAL




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                                               INTRODUCTION

               Carnival’s opening submission detailed various errors that caused substantial prejudice at

   trial. First was the failure to reconsider summary judgment despite the late-breaking admission of

   the FBI Notes—evidence creating material fact issues. That led to the jury being instructed that

   Plaintiff had been falsely imprisoned, which naturally pointed toward liability on the sexual assault

   claim. The second significant error was the exclusion of the FBI Reports at trial, despite Plaintiff’s

   experts’ reliance on them in forming their opinions. Instead, the jury was told merely that the FBI

   was involved—but not what determination it reached. These errors call for a new trial. 1

               Plaintiff’s opposition largely fails to confront Carnival’s arguments in support of its request

   for new trial; instead, it attempts to distract from them. That speaks volumes.

                                                  ARGUMENT

       I.      FAILURE TO RECONSIDER SUMMARY JUDGMENT WAS LEGAL ERROR.

               Carnival presented three reasons why this Court’s failure to reconsider summary judgment

   was legal error. Plaintiff pokes irrelevant holes in the first, merely echoes this Court’s conclusions

   as to the second, and does not devote a single sentence to the third.

            A. The FBI Notes Created a Dispute of Material Fact.

               Plaintiff does not contest that admission of the FBI Notes created a dispute of material fact.

   Instead, Plaintiff accuses Carnival of presenting a skewed narrative of the events that led to the

   denial of reconsideration. But Plaintiff neither explains what Carnival said that was inaccurate,

   nor disputes any of the procedural history relevant to Carnival’s motion. On that, only three events

   matter: [1] Judge Torres’ finding that there was no dispute of fact at summary judgment, [ECF 151


   1
    Plaintiff does not dispute that the jury’s finding for Carnival on Plaintiff’s negligence claim did
   not turn on whether Plaintiff consented to the interaction, meaning that this Court can limit its
   grant of a new trial to those claims affected by the summary judgment and evidentiary errors
   bearing on consent—the false imprisonment and sexual assault claims. See Mot. 10 n.1.

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   at 10]; [2] the admission of the FBI Notes at trial, [Trial Tr. Day 3 at 4:2-4; ECF No. 212 at 3; JE

   26], and [3] this Court’s acknowledgement following admission of the Notes that the Notes created

   “an issue of fact which was not present” at summary judgment, [Trial Tr. Day 6 at 18:2-4].

            Plaintiff now suggests the Notes were “available” at summary judgment and implies

   Carnival could have introduced them at any point prior to Plaintiff’s late-breaking stipulation.

   Opp. 4-6. That is incorrect. To start, Judge Torres unequivocally determined that the FBI Reports,

   which Carnival did attempt to rely on at summary judgment, see [ECF No. 112 at 3], were hearsay.

   The Notes formed the basis for those Reports. 2 This Court in turn “advised repeatedly” that the

   Notes “would not be admitted.” [Trial Tr. Day 6 at 12:9-11]. It would have been rash to introduce

   the Notes under those circumstances, not to mention futile at that stage, given the Magistrate’s

   ruling. And it is the ability to actually introduce something into evidence, not merely access to it,

   that allows for reconsideration. See Luig v. N. Bay Enterprises, Inc., 817 F.3d 901, 907 (5th Cir.

   2016) (granting reconsideration even though defendant “likely had access to the evidence

   presented in the 59(e) motion” at summary judgment but failed to present it). The landscape

   changed only when this Court admitted the parties’ Joint Exhibits into evidence at trial. [Trial Tr.

   Day 3 at 4:2-4]. Carnival renewed its motion for reconsideration days later. Mot. 13 n.2.

            Plaintiff next cites various cases about the barriers to parties attempting to introduce newly

   discovered evidence. Opp. 6. This misses the mark. Carnival is not “attempt[ing] to introduce

   previously unsubmitted evidence.” See Mays v. U.S. Postal Serv., 122 F.3d 43, 46 (11th Cir.

   1997). The Notes came in on Plaintiff’s stipulation. Carnival’s argument concerns a different

   point: the legal consequence of evidence coming in at trial that the Court did not consider at

   summary judgment. On that, Plaintiff does not meaningfully dispute that reconsideration is



   2
       The Reports themselves come within the public-record exception. See infra 6-7.

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   appropriate when evidence becomes available after summary judgment. See Sanzone v. Hartford

   Life & Accident Ins. Co., 519 F. Supp. 2d 1250, 1255 (S.D. Fla. 2007).

           Plaintiff then faults Carnival for failing to cite a case with perfect factual symmetry to this

   one. Opp. 6-9. Her argument boils down to the following: Various cases discuss reconsideration

   when evidence comes in on a party’s pre-trial motion, but not when it comes in on a party’s trial

   stipulation. But no case on which Carnival relies turns on that distinction, and each one indicates

   reconsideration is appropriate here. Take In re Louisiana Crawfish Producers: The Fifth Circuit

   ordered reconsideration because evidence entered the record—after summary judgment—and that

   created a dispute of fact. 852 F.3d 456, 467 (5th Cir. 2017). No part of the opinion cuts

   reconsideration off at the start of trial. And conveniently, Plaintiff does not mention the cases

   where courts reconsidered judgments post-trial. See, e.g., Good Luck Nursing Home, Inc. v.

   Harris, 636 F.2d 572, 577 (D.C. Cir. 1980). Cases like Jackson v. State of Alabama State Tenure

   Comm’n, 405 F.3d 1276 (11th Cir. 2005), applying the law of the case doctrine, stand for a separate

   but equally pertinent point: “When the record changes” to contain “substantially different

   evidence,” a court is free to depart from prior judgments in the same case. Id. at 1283. The bottom

   line is the same: When a dispute of fact emerges, a court should revisit summary judgment.

       B. Summary Judgment Substantially Prejudiced Carnival.

           Plaintiff describes the question of consent as “the central issue in this case.” Opp. 13.

   Carnival agrees. And Plaintiff does not contest that the Court’s grant of summary judgment

   prejudiced “the jury towards a finding of liability from the trial’s outset,” Mot. 14, or that the denial

   of reconsideration “rendered Carnival unable to fairly defend against Plaintiff’s sexual assault

   claim,” id. at 15-16. Instead, Plaintiff echoes the Court’s prior observation that she may have been

   prejudiced by reconsideration. Opp. 11-12. But she fails to explain why “call[ing] additional




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   witnesses”—as this Court suggested—would not have resolved gaps in the design of her case.

   Mot. 19. And the jury would have been none the wiser.

          Plaintiff also argues in passing that there was no “Whipsaw” on her part. Opp. 1, 3. But

   recall Plaintiff’s explanation for stipulating to the Notes’ admission at trial: they came in only “in

   reliance that I already have the false imprisonment claim.” [Trial Tr. Day 6 at 15:5–8] (emphasis

   added). Because Plaintiff “ha[d that] claim,” she also “had” a finding of lack of consent to

   imprisonment. See [ECF No. 151 at 5] (discussing elements of false-imprisonment claim). And

   so only one conclusion remained available to the jury on the sexual assault claim: liability.

      C. A Dispute Over Credibility Existed at Summary Judgment and Deepened at Trial.

          Plaintiff’s account at summary judgment displayed multiple memory lapses—any of which

   was sufficient to “create an issue of credibility” for the jury. Tippens v. Celotex Corp., 805 F.2d

   949, 954 (11th Cir. 1986). This deepened at trial when she could not testify to several basic facts

   about the encounter. See Mot. 23. But this Court’s grant of summary judgment credited her

   account in full. Plaintiff says not one word in response to this. Reconsideration is warranted

   because credibility and consent should have been before the jury.

    II.   EXCLUDING THE FBI REPORTS AT TRIAL WAS ERROR.

          The FBI Reports were admissible, at a minimum, so that Carnival could impeach Plaintiff’s

   experts after they relied on the Reports. Plaintiff reasons that because her experts “did not rely

   upon the FBI Agents’ conclusions,” it was appropriate for the Court to exclude the FBI Reports at

   trial. Opp. 9. There are three things wrong with that reasoning.

          First, it is not true that Carnival was precluded from cross-examining her experts only as

   to the FBI’s conclusions. Dr. Surloff testified that she did not know what documents she relied on

   in forming her opinion. She thus was not subject to cross-examination as to her reliance on the

   FBI Reports at all. What’s more, the record makes clear that Dr. Surloff did, in fact, rely on—and


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   at times quoted verbatim from—the FBI Reports. Dr. Surloff admitted at trial that portions of the

   “Relevant History” section of her report were exact quotes from reports and documents she had

   been given to review in forming her expert opinion, but she could not recall which documents.

   The record shows that the documents she relied on, but failed to recall or bring to trial, were the

   FBI Reports. Compare [FBI Report, ECF No. 111-2 at 3] with [Surloff Report, ECF No. 329-1 at

   2-3] (evidencing that portions of Dr. Surloff’s “Relevant History” section of her report includes

   direct quotes lifted from the FBI Report), with [Trial Tr. Day 5 at 88:22-90:9].

          Plaintiff thus was able to enjoy the benefits of the rules of evidence, without shouldering

   their corresponding burdens. Mot. 19. Carnival had a right to have the FBI Reports admitted—

   even if just for impeachment—once Plaintiff made the strategic decision to have Dr. Surloff rely

   on them. Fed. R. Evid. 705. Dr. Surloff instead was able to rely on the FBI Reports to

   impermissibly bolster Plaintiff’s testimony by clipping quotes from the FBI Reports—which

   ultimately came to the opposite conclusion as did Dr. Surloff on the most important element of the

   case: consent. Mot. 20. The jury should have been able to decide for itself whether Plaintiff’s

   experts were credible in reaching a finding of non-consent when relying (sometimes verbatim) on

   portions of the FBI Report—while rejecting the unhelpful portions. But Plaintiff’s experts were

   never subject to cross-examination on that.

          Plaintiff’s counter is a weak one. Rather than grapple with the prejudice Carnival endured,

   Plaintiff takes issue with Carnival’s “pursuit of trying to get FBI reports into the case.” Opp. 10.

   Plaintiff contends that Dr. Surloff’s Report and the FBI Reports have “different quote[s]”, and that

   Dr. Surloff had not seen the report. Opp. 11. But even a cursory review shows Dr. Surloff did

   directly quote from the FBI Reports. Plaintiff cannot seriously dispute this.




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          Second, note what was not said. Plaintiff does not respond to Carnival’s detailing of her

   Rule 26 violations. Mot. 18-21. Plaintiff carefully does not argue that it would have been

   permissible for the Court to preclude Carnival from cross-examining her experts on the FBI

   Reports where the experts relied on them. Plaintiff’s argument instead is that her experts did not

   rely on the conclusions, and Carnival was precluded only from eliciting testimony on the

   conclusions. Plaintiff says Carnival was able to cross-examine Dr. Foster about portions of the

   FBI Reports and Notes, but just not about the conclusions. Opp. 9. She did not—and, of course,

   cannot—say that about Carnival’s cross-examination of Dr. Surloff. See supra 4-5. Plaintiff, in

   effect, concedes that her experts relied on the FBI Reports, at least in part. In doing so, she admits

   a Rule 26 violation, because nowhere in her expert disclosures was it revealed that her experts

   relied on the FBI Reports. That was not harmless and it rendered the trial fundamentally unfair.

          Third and finally, it should not matter whether the experts relied on the FBI Reports’

   conclusions. The conclusions themselves were admissible under Federal Rule of Evidence 803(8).

   Mot. 21-25; Goodman v. Kimbrough, 718 F.3d 1325, 1333 n.2 (11th Cir. 2013).

          Plaintiff admits the analysis here is properly done statement-by-statement, and that a

   decision not to prosecute, per Miller v. Field, 35 F.3d 1088 (6th Cir. 1994), is admissible. Opp.

   14. But Plaintiff then attempts to distinguish Miller by arguing that the ultimate investigative

   conclusion there was admissible while the reasoning for the conclusion was not, whereas here the

   FBI Reports contained reasoning for the Reports’ conclusions and so were entirely

   inadmissible. Id. But that is not what Miller said. Miller instead supports the proposition that the

   ultimate conclusion of the investigation, at a minimum, should be admitted; any inadmissible

   statements can be redacted. 35 F.3d at 1089, 1091. And Carnival suggested to the Court the option

   of admitting just the Reports’ conclusions that the interaction was consensual; it also argued that,




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   at a minimum, the jury should “hear that there was no criminal prosecution.” [ECF No. 128 at 1].

   The Court still excluded the Reports in their entirety. As Miller highlights, that was wrong.

          Plaintiff (at 13-14) next attempts to distinguish Blanton, discussed in Carnival’s motion at

   24, by highlighting that the EEOC proceeding and jury trial there pertained to two different, albeit

   related, claims. Blanton v. Univ. of Fla. ex rel Bd. of Trs. of Univ. of Fla., 273 F. App’x 797, 804

   (11th Cir. 2008). But the principle in Blanton was drawn from clear Eleventh Circuit precedent

   reasoning that, in admitting a public record like an EEOC report, a limiting instruction and

   sufficient evidence can explain to the jury the “appropriate use of the [prior] determination by

   explaining that it is not an adjudication of rights and liabilities” binding on any party, even when

   the EEOC report “concerns the same discrimination claim as that before the jury.” Id. (citing

   Goldsmith v. Bagby Elevator Co., 513 F.3d 1261, 1288, 1289 (11th Cir. 2008)). This principle

   highlights the role a limiting instruction could have played here. 3

          At bottom, the exclusion of the FBI Reports caused Carnival substantial prejudice. The

   Report was not a summary of a “he said she said” investigation. Opp. 15. The FBI made an

   affirmative finding that the interaction was, in fact, consensual. It is hard to understand why that

   conclusion—reached by a government agency with specialized investigatory expertise—was not

   highly probative evidence warranting admission. This is especially true considering that once the

   FBI Notes came into evidence, the jury knew there was an FBI investigation, but was never

   informed of that investigation’s conclusion; instead, it was left to draw its own conclusions,

   knowing that summary judgment had been granted on false imprisonment and that there’d been an

   FBI inquiry. Mot. 24. No surprise, then, when the jury returned a finding of liability.


   3
     Plaintiff argues that by suggesting that a limiting instruction could have been appropriate,
   Carnival concedes that there was a “strong likelihood” of prejudice in admitting the Reports. Opp.
   14. It is much more the opposite: the FBI Reports were so highly probative that they had to come
   in, and a limiting instruction could have cured any minimal attendant prejudice.

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   III.   DENIAL OF A MITIGATION INSTRUCTION WAS ERROR.

          Plaintiff defends the court’s refusal to give a mitigation instruction on the facts and the law.

   She is wrong on both.

          First, trial evidence would have allowed a jury to conclude that because Plaintiff did not

   receive the recommended mental health care, she failed to mitigate. Plaintiff explains (at 16) that

   a mitigation instruction was not needed because “Carnival never put on a defense expert” and did

   not cross-examine Plaintiff’s expert specifically on mitigation.        But Plaintiff cites no case

   supporting the proposition that a defendant must put on expert testimony about failure to mitigate.

   Precedent simply requires that there be evidence in the record, whether expert or lay, supporting

   an instruction on mitigation. See generally 25A C.J.S. Damages § 418. Indeed, in Nord v. U.S.

   Steel, 758 F.2d 1462, 1471 (11th Cir. 1985), cited by Plaintiff at 16, the court recognized that a

   defendant could be entitled to a mitigation instruction by relying only on plaintiff’s testimony,

   although the defendant was not successful in that endeavor in Nord. 4 In short, Carnival needed to

   show only that there was evidence to support the defense of failure to mitigate. And there was.

          Plaintiff’s own expert’s testimony established that a psychiatrist recommended that

   Plaintiff seek treatment, that she did not undergo such treatment, and that such lack of treatment

   could have harmed her recovery. Dr. Surloff testified that Plaintiff needed “several years of

   treatment.” [Trial Tr. Day 5 at 142:16–21]. She explained that trending “downhill,” as Plaintiff

   claimed, would be expected of “PTSD patients or people that are not in therapy.” [Trial Tr. Day

   5 at 56:25-57:5]. And Plaintiff conceded that from December 2018 to December 2019 she did not

   receive any treatment. [Trial Tr. Day 5 at 249:23-250:1].


   4
     Plaintiff also cites Garcia v. Walmart Stores, Inc., 209 F.3d 1170, 1174 (10th Cir. 2000). Opp.
   16. Garcia is not instructive on the issue here; not only is it out of circuit, but the court there
   affirmed the district court’s denial of a mitigation instruction under plain-error review because
   defendant there had conceded that it failed to timely object to the lack of a mitigation instruction.

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           Trial evidence was thus sufficient for the jury to determine that Plaintiff might have

    benefitted had she received treatment sooner. See Mot. 25-26 (collecting cases applying similar

    reasoning). Plaintiff counters (at 16-17) with factual reasons for why she did not undergo the

    recommended treatment—but such factual explanations are precisely what the jury could have

    been told to consider in determining for itself whether Plaintiff failed to mitigate. Because the

    record supported a failure-to-mitigate finding, Carnival sought an instruction on mitigation to

    allow the jury to make that determination. But the Court rejected it. That was error.

           Second, Carnival proposed an instruction that was not misleading and that was a correct

    statement of the law. Carnival had proposed an instruction that stated in relevant part: “If you

    should find from a preponderance of the evidence that the Plaintiff failed to seek out or take

    advantage of an opportunity that was reasonably available . . .” [ECF 241 at 24]. During a charge

    conference, as so often occurs, the parties discussed the disputed instructions or portions thereof.

    Here, that meant there was discussion over the need for a mitigation instruction and whether the

    “opportunity” language was too broad so as to possibly confuse the jury. The Court told Carnival

    that it wanted more specific language than “opportunity,” to which counsel replied: “Your Honor,

    I’m talking about a failure to seek recommended medical/psychological care.” [ECF 344-6 at 4].

    The Court then asked whether Carnival had precedent to support its revised proposal; Carnival

    subsequently provided case law supporting its proposed instruction that now effectively read “[i]f

    you should find from a preponderance of the evidence that the Plaintiff failed to seek out or take

    advantage of recommended medical/psychological care that was reasonably available . . . .” The

    cases Carnival provided supporting such an instruction included Rubenstein v. Yehuda, where the

    Eleventh Circuit stated that “a paradigmatic example” of mitigation is a “fail[ure] to obtain proper




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    medical care” after an accident, which may “lessen [plaintiff’s] recovery for the subsequent

    aggravated condition.” 38 F.4th 982, 1000 (11th Cir. 2022).

           Plaintiff concedes that Carnival did cite Rubenstein to the Court; she apparently takes issue

    instead with Carnival’s failure to “hand[]” the case “to the Court to read in depth,” as Carnival had

    with another case supporting a mitigation instruction. Opp. 21. Carnival is not aware of—nor

    does Plaintiff cite—any precedent requiring a defendant provide the court with a hard copy. The

    requirement, rather, is that the proposed instruction be a correct statement of the law. And

    Rubenstein says that “a paradigmatic example” of mitigation is a “fail[ure] to obtain proper

    medical care” after an accident. 38 F.4th at 1000. Plaintiff even (inadvertently) concedes that the

    proposed instruction is a correct statement of the law, positing that had Carnival expressly pointed

    out this “paradigmatic example” then “perhaps this Court would have provided a mitigation

    instruction.” Opp. 20-21. Moreover, courts across the country have held that mitigation applies

    to psychological and emotional damages. Mot. 26. Plaintiff did not respond to these precedents.

           In a final odd turn, Plaintiff, again, without citation, differentiates between medical care

    for physical issues and mental health issues. Opp. 21. But Rubinstein did not turn on such a

    distinction; that court said instead that “a paradigmatic example” of the need for a mitigation

    instruction is when there was a “fail[ure] to obtain proper medical care.” 38 F. 4th at 1000. And

    courts around the country say mitigation applies to psychological and emotional damages. A

    plaintiff’s failure to take adequate steps to treat a condition after injury is therefore a failure to

    mitigate, regardless of whether that condition is physiological or psychological.

                                                    ***

           For the foregoing reasons, and those in Carnival’s opening submission, this court should

    grant Carnival’s request for a new trial.




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